     Case 1:24-cv-07743-MMG     Document 1   Filed 10/11/24   Page 1 of 22




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


                                            x
SAFRON CAPITAL CORP., Individually and : Civil Action No.
on Behalf of All Others Similarly Situated, :
                                            : CLASS ACTION COMPLAINT
                             Plaintiff,     :
                                            :
      vs.                                   : JURY TRIAL DEMANDED
                                            :
BANK OF AMERICA CORPORATION and :
MERRILL LYNCH, PIERCE, FENNER &             :
SMITH INCORPORATED,                         :
                                            x
                             Defendants.
       Case 1:24-cv-07743-MMG             Document 1        Filed 10/11/24       Page 2 of 22




       By and through its undersigned counsel, Safron Capital Corp. (“Plaintiff”) brings this class

action against defendant Bank of America Corporation (“BofA”) and its wholly owned subsidiary,

defendant Merrill Lynch, Pierce, Fenner & Smith Incorporated (“Merrill”) (collectively,

“Defendants”), upon personal knowledge as to those allegations concerning Plaintiff and, as to all

other matters, upon the investigation of counsel, including, without limitation, review and analysis

of: (a) documents created and distributed by Defendants; (b) public filings made by BofA with the

U.S. Securities and Exchange Commission; (c) press releases disseminated by Defendants; and (d)

news articles, websites, and other publicly available information concerning Defendants. Plaintiff

believes that substantial additional evidentiary support will exist for the allegations set forth herein

after a reasonable opportunity for discovery.

                                 SUMMARY OF THE ACTION

       1.      Plaintiff brings this class action to recover damages arising out of Defendants’

unlawful conduct related to the Merrill Lynch Cash Sweep Program (“Sweep Program”), which

transferred idle customer cash into interest-bearing “cash sweep” accounts. Plaintiff and the Class

members (defined below) were customers of Merrill whose funds were transferred to cash sweep

accounts under the Sweep Program.

       2.      Under the Sweep Program, Merrill swept customers’ idle cash deposits into

separate accounts that were highly lucrative for Defendants and their affiliate banks but paid

unreasonably low, below-market interest rates to customers. As such, Defendants used the Sweep

Program to generate massive revenue for themselves at the expense of their customers.

       3.      Defendants made materially misleading statements to customers about the Sweep

Program and failed to disclose that Defendants established and used the Sweep Program to enrich

themselves by paying unreasonably low interest rates to customers in order to increase Defendants’

financial benefits from the Sweep Program.
                                                 -1-
       Case 1:24-cv-07743-MMG            Document 1        Filed 10/11/24      Page 3 of 22




       4.      Defendants’ material statements and omissions regarding the Sweep Program, and

use of the Sweep Program to enrich themselves by paying unreasonably low interest rates to

customers, violated federal law including the Investment Advisers Act of 1940 (“Advisers Act”),

the Racketeer Influenced and Corrupt Organizations Act (“RICO Statute”), and breaches of their

fiduciary duties and contractual obligations to customers.

                                 JURISDICTION AND VENUE

       5.      This Court has subject matter jurisdiction under the Class Action Fairness Act of

2005, 28 U.S.C. §1332(d)(2) and (6), because: (a) there are 100 or more class members; (b) there

is an aggregate amount in controversy exceeding $5,000,000.00 exclusive of interest and costs;

and (c) there is minimal diversity because at least one plaintiff and one defendant are citizens of

different states. This Court also has subject matter jurisdiction under 18 U.S.C. §1964(c), 28

U.S.C. §1331, and 50 U.S.C. §80b-14 because Plaintiff brings claims arising under the RICO

Statute, 18 U.S.C. §1962, and the Advisers Act, 50 U.S.C. §§80b-1-21.

       6.      This Court has personal jurisdiction over Defendants because, during the relevant

time period, Defendants had offices in, did sufficient business in, had sufficient contacts with, and

intentionally availed themselves of the laws and markets of New York through the promotion, sale,

marketing, distribution, and operation of their products and services.

       7.      Venue is proper in this District pursuant to 28 U.S.C. §1391 because, during the

relevant time period, Defendants transacted business and had offices in this District, and many of

the acts and practices complained of herein occurred in substantial part in this District.

       8.      In connection with the challenged conduct, Defendants, directly or indirectly, used

the means and instrumentalities of interstate commerce, including, without limitation, the United

States mails and interstate telephone communications.


                                                -2-
       Case 1:24-cv-07743-MMG           Document 1       Filed 10/11/24      Page 4 of 22




                                           PARTIES

Plaintiff

       9.      Plaintiff Safron Capital Corp. is a Delaware corporation headquartered at

2836 Lyndale Avenue South, Suite 260, Minneapolis, Minnesota 55408. During the relevant time

period, Plaintiff was a Merrill account holder. As a Merrill account holder, Plaintiff’s uninvested

cash was swept into the banks that Defendants selected in their discretion at the unreasonably low

interest rates alleged herein pursuant to the Sweep Program.

Defendants

       10.     Defendant Bank of America Corporation is a Delaware corporation headquartered

at Bank of America Corporate Center, 100 North Tryon Street, Charlotte, North Carolina 28255.

BofA is a financial services company that conducts business throughout the United States, with

assets totaling $3.3 trillion, loans and leases totaling $1 trillion, and approximately 212,000

employees. BofA is the parent company and control person of Defendant Merrill.

       11.     Defendant Merrill Lynch, Pierce, Fenner & Smith Incorporated is a Delaware

corporation headquartered at One Bryant Park, New York, New York 10036. Merrill is a broker-

dealer and a Registered Investment Advisor that offers brokerage and investment advisory services

to its nationwide client base.    Merrill acts as its customers’ agent for the establishment,

maintenance, and operation of the Sweep Program. Merrill is a wholly owned subsidiary of, and

controlled by, Defendant BofA.

                              SUBSTANTIVE ALLEGATIONS

Background on Defendants’ Sweep Program

       12.     BofA is one of the largest financial services firms in the country. BofA’s wholly

owned subsidiary, Merrill, operates as a wealth management division of BofA, offering brokerage

and investment advisory services to customers nationwide.

                                               -3-
       Case 1:24-cv-07743-MMG           Document 1       Filed 10/11/24      Page 5 of 22




       13.     Defendants provide the Sweep Program to customers of Merrill. The terms and

conditions of the Sweep Program are set forth in Merrill’s Client Relationship Summary and Client

Relationship Agreement (“Account Agreement”),1 Best Interest Disclosure Statement

(“Disclosure Statement”),2 CMA Financial Service Cash Management Account Disclosures

(“CMA Disclosures”),3 and Sweep Program Guide4 (collectively, “Sweep Program Documents”).

       14.     Under the Sweep Program, Merrill automatically sweeps eligible clients’

uninvested cash balances into interest bearing deposit accounts (“Deposit Accounts”) at one or

more of the following banks affiliated with BofA and Merrill: Bank of America, N.A. (“BANA”),

Bank of America California, N.A. (“BA-CA”), and Merrill Lynch Bank and Trust Company

(Cayman) Limited (collectively, “Merrill Affiliated Banks” or “Bank Affiliates”).

       15.     The Sweep Program Documents provide that Merrill acts as agent for customers in

the Sweep Program, stating: “In the United States, Merrill acts as a broker (i.e., agent) for its

private clients as well as its corporate and institutional clients. . . . . Through BANA, and other

bank Affiliates (Bank Affiliates), Merrill provides access to banking services, including lending




1
    Merrill,                   Client                   Relationship              Summary,
https://olui2.fs.ml.com/publish/content/application/pdf/GWMOL/ClientRelationshipAgreement.p
df (Mar. 22, 2024).
2
    Merrill,             Best             Interest          Disclosure            Statement,
https://olui2.fs.ml.com/publish/content/application/pdf/GWMOL/Regulation-Best-Interest-
Disclosure-Statement_RBIDISC.pdf (Apr. 2024).
3
    Merrill,       CMA       Financial      Service      Cash   Management     Account,
https://olui2.fs.ml.com/Publish/Content/application/pdf/GWMOL/CashManagementAccountCM
ADisclosuresandAccountAgreement.pdf (July 2024).
4
    Merrill,                     Sweep                    Program                           Guide,
https://olui2.fs.ml.com/publish/content/application/pdf/GWMOL/Sweep-Program.pdf              (Aug.
2024).

                                               -4-
       Case 1:24-cv-07743-MMG             Document 1        Filed 10/11/24      Page 6 of 22




and cash sweep services.”5 Similarly, the Sweep Program Documents state that “Merrill Lynch is

acting as agent and messenger for its customers for the deposits at BANA and/or BA-CA.”6

       16.     The Sweep Program Documents further state that the Deposit Accounts in the

Sweep Program “will bear a rate of interest that has been established for, and in light of the features

of, the Sweep Program. The rate of interest for such deposit accounts is periodically set and reset

by the Merrill Affiliated Banks in their discretion.”7

Defendants Reaped Significant Benefits from the Sweep Program to the Detriment of Their
Customers, Who Were Paid Unreasonably Low Interest Rates

       17.     The Sweep Program provides several highly lucrative financial benefits to

Defendants and their Bank Affiliates. First, “Merrill and [their] Bank Affiliates benefit financially

when [customers] hold any cash balances in the bank deposit accounts affiliated with the Cash

Sweep Program. Merrill receives payments from our Bank Affiliates on a per account basis for

each account that sweeps to one of [its] Bank Affiliates relating to offering and supporting the

Cash Sweep Program.”8

       18.     Second, “Merrill Advisors and [Merrill Financial Solutions Advisors] receive

increased compensation based on achieving a number of strategic objectives, including, among

other activities, the growth in their clients’ participation in bank sweep deposits and sweep money




5
    Account Agreement, supra n.1; Disclosure Statement, supra n.2.
6
    CMA Disclosures, supra n.3.
7
    Sweep Program Guide, supra n.4.
8
    Disclosure Statement, supra n.2.

                                                 -5-
           Case 1:24-cv-07743-MMG           Document 1       Filed 10/11/24      Page 7 of 22




market funds, checking and savings accounts, the Preferred deposit product, loans, mortgages and

margin lending.”9

           19.    Third, through Sweep Program deposits, Merrill’s Bank Affiliates “receive a stable,

cost-effective source of funding. They use these bank deposits to fund current and new lending,

investment and other business activities. The participation of the Bank Affiliates in the Cash

Sweep Program increases their respective deposits and accordingly overall profits.”10

           20.    Moreover, Defendants are able to maximize their financial gain from the Sweep

Program by paying customers unreasonably low rates, creating an admitted “conflict of interest”

with customers:

           Bank profitability is determined, in large part, by the “spread” they earn on the
           deposits – the difference between the interest paid on the bank deposits and other
           amounts paid to Merrill related to these deposits, on the one hand, and the interest
           or other income earned on loans, investments and other assets which may be funded
           in part by bank deposits, on the other hand. The greater the amount of cash balances
           maintained in your accounts (which could be as a result of a recommendation from
           your financial advisor) that is swept into a bank deposit account affiliated with the
           Cash Sweep Program and the lower the interest rate paid on the related bank
           deposit, the more our Bank Affiliates benefit.11

           21.    Due to this adverse financial incentive, Defendants fail to pay reasonable interest

rates to most Sweep Program customers and instead pay miniscule, below-market rates ranging

from 0.01% to 0.15% depending on the amount deposited.12 By comparison, Defendants’




9
     Id.
10
     Id.
11
     Id.
12
    Merrill,                   Cash                    Management                  Solutions,
https://olui2.fs.ml.com/Publish/Content/application/pdf/GWMOL/ICCRateSheet.pdf         (2024).
Account Tiers 1-4 of Sweep Program receive interest rates ranging from 0.01% to 0.15%
depending on the amount deposited, while account Tier 5 of the Sweep Program, which is limited
                                              -6-
       Case 1:24-cv-07743-MMG            Document 1       Filed 10/11/24      Page 8 of 22




competitors pay far higher rates to customers in their own cash sweep programs. For example,

competitor Moomoo’s rate is 4.6%,13 Webull’s rate is 4.25%,14 and Vanguard’s rate is 4.15%.15

       22.     The Sweep Program interest rates are also well below the Federal Reserve’s

benchmark federal funds rates, currently at 4.75% to 5.00%.16

       23.     Acknowledging this issue, in July 2024, BofA added new language to its Form 10-

Q stating that “the rates paid on uninvested cash in investment advisory accounts that is swept into

interest paying bank deposits” are among the “risks and uncertainties” that BofA investors should

consider.17

Defendants Breached Their Contractual Obligations and Fiduciary Duties Related to the
Sweep Program

       24.     Under the Sweep Program Documents, Merrill agreed to act as its customers’ agent,

and, thus, was contractually obligated to act in its customers’ best interests in seeking and

negotiating reasonable interest rates under the Sweep Program. However, as discussed above,




to certain eligible retirement plan and investment advisory accounts, receives an interest rate of
4.78%. Id.
13
    Moomoo,     Boost       your      uninvested       cash      with              4.6%        APY,
https://www.moomoo.com/us/invest/cashsweep (last accessed Oct. 10, 2024).
14
    Webull, Webull High-Yield Case Management, https://www.webull.com/cash-management
(last accessed Oct. 10, 2024).
15
    Vanguard, Your cash deserves a good home, https://investor.vanguard.com/accounts-
plans/vanguard-cash-plus-account (last accessed Oct. 10, 2024).
16
    Federal     Reserve,      Economy      at     a      Glance      –     Policy     Rate,
https://www.federalreserve.gov/economy-at-a-glance-policy-rate.htm (last accessed Oct. 10,
2024).
17
     Bank        of      America        Corporation,        Form         10-Q,            at      2,
https://investor.bankofamerica.com/regulatory-and-other-filings/all-sec-
filings/content/0000070858-24-000208/bac-20240630.htm (July 30, 2024).

                                               -7-
           Case 1:24-cv-07743-MMG          Document 1         Filed 10/11/24       Page 9 of 22




Merrill failed to act in its customers’ best interests because the interest rates that Merrill agreed to

pay to its customers were unreasonable compared to the far higher market rates paid by

competitors.

           25.   Further, Merrill violated its fiduciary duties under federal law. As an investment

advisor for an actively managed client account, Merrill owed a fiduciary duty to its clients under

the Advisers Act.18 In particular, Merrill was obligated to “serve the best interest of its client and

not subordinate its client’s interest to its own” and was not permitted to “place its own interests

ahead of the interests of its client.”19 Merrill owed a similar duty of care to its retail clients pursuant

to Regulation Best Interest, which required it to act in its retail customers’ best interests and

prohibited it from placing its own interests ahead of its retail customers’ interests.20 However, as

described above, Merrill violated these duties by using the Sweep Program to enrich itself at the

expense of customers who were paid unreasonably low interest rates.

Defendants Made Material Misrepresentations and Omissions Regarding the Sweep
Program

           26.   In the Sweep Program Documents, Defendants made material omissions by failing

to disclose that, as discussed above, Defendants established and used the Sweep Program to enrich

themselves by paying unreasonably low interest rates to customers in order to increase Defendants’

financial benefits from the Sweep Program.




18
    See Securities and Exchange Commission Interpretation Regarding Standards of Conduct for
Investment Advisers, 84 Fed. Reg. 134, 17 CFR §276 (July 12, 2019) (interpreting Section 206 of
the Advisers Act, 15 U.S.C. §80b-6).
19
     Id.
20
    Securities and Exchange Commission, Regulation Best Interest: The Broker-Dealer Standard
of Conduct, 84 Fed. Reg. 33318, 33320, 17 C.F.R. §240.15l-1 (July 12, 2019).

                                                   -8-
       Case 1:24-cv-07743-MMG           Document 1       Filed 10/11/24      Page 10 of 22




        27.    The Sweep Program Documents also misleadingly stated that “from time to time”

the Deposit Account interest rates “will likely be lower than yields on certain money market funds

and other cash alternatives”21 and that the Deposit Account interest rates“[w]ill likely be lower

than the rates available on other deposit type accounts at the Merrill Affiliated Banks and other

banking institutions and yields on cash alternatives, such as money market funds.”22 These

statements were misleading and omitted material facts because, in reality, the Deposit Account

interest rates were always significantly below market interest rates available on other deposit-type

accounts and cash alternatives.

        28.    Defendants also misleadingly claimed that they “adopted various policies and

procedures reasonably designed to prevent the cash sweep arrangement and other business

arrangements from affecting the nature of the advice we and our financial advisors provide”23

when, in fact, such arrangements harmed customers by causing Defendants to automatically sweep

customer deposits into Deposit Accounts paying miniscule, below-market interest rates.

Defendants Violated the RICO Statute

        29.    Defendants violated the RICO Statute through their implementation of the Sweep

Program.

        30.    Merrill is an “enterprise” within the meaning of the RICO Statute. Through Merrill,

Defendants knowingly and intentionally devised and operated the Sweep Program as a scheme to

defraud customers, including Plaintiff and the Class. Defendants used the Sweep Program to




21
     Disclosure Statement, supra n.2; Account Agreement, supra n.1.
22
     Sweep Program Guide, supra n.4.
23
     Account Agreement, supra n.1.

                                               -9-
      Case 1:24-cv-07743-MMG           Document 1        Filed 10/11/24    Page 11 of 22




benefit and enrich themselves through, among other things, the payment of unreasonably low

interest rates to customers on money deposited into the Sweep Program.

       31.    The Sweep Program involved commercial activities across state lines, including

Defendants’ distribution of the Sweep Program Documents to customers, and Defendants’ receipt

and transfer of money deposited by customers.

       32.    Through the Sweep Program, Defendants conducted and participated in a pattern

of racketeering activity within the meaning of the RICO Statute (“Racketeering Acts”).

Defendants’ Racketeering Acts included indictable, predicate offenses under 18 U.S.C. §§1341

and 1343 based on Defendants’ fraudulent use of interstate mail and wire communications,

including posting the materially false and misleading Sweep Program Documents on their public

website and distributing them to customers throughout the country.

       33.    The Racketeering Acts were related in that they were taken in furtherance of

Defendants’ Sweep Program scheme. The Racketeering Acts occurred, and continue to occur,

regularly and continuously over a multi-year period during the operation of the Sweep Program.

       34.    Defendants conducted the Racketeering Acts as part of a common conspiracy to

violate 18 U.S.C. §1962(c) of the RICO Statute. Defendants, with knowledge and intent, agreed

to the overall objectives of the conspiracy and, through the Racketeering Acts, participated in a

common course of conduct in furtherance of the Sweep Program scheme, including posting the

materially false and misleading Sweep Program Documents on their public website and

distributing them to customers throughout the country.

       35.    As Sweep Program customers, Plaintiff and the Class were damaged by

Defendants’ Racketeering Acts due to Defendants’ payment of unreasonably low interest rates on

the money customers deposited into the Sweep Program.


                                             - 10 -
      Case 1:24-cv-07743-MMG             Document 1        Filed 10/11/24      Page 12 of 22




                               CLASS ACTION ALLEGATIONS

       36.      Plaintiff brings this action as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure on behalf of a Class consisting of all persons who had cash deposits or balances

in account Tiers 1-4 of the Sweep Program (“Class”). Excluded from the Class are Defendants,

the officers and directors of Defendants at all relevant times, members of their immediate families

and their legal representatives, heirs, successors, or assigns, and any entity in which Defendants

have or had a controlling interest.

       37.      The Class members are so numerous that their individual joinder is impracticable.

While the exact number of Class members can only be determined by appropriate discovery,

Plaintiff believes that Class members number in the thousands, and are geographically dispersed,

because BofA oversees $3.3 trillion in client assets worldwide.

       38.      Plaintiff’s claims are typical of Class members’ claims because Plaintiff was a

BofA customer whose cash deposits with BofA were subject to the Sweep Program, and therefore

Plaintiff’s claims, and those of all other Class members, arise from the same wrongful conduct by

Defendants alleged herein.

       39.      Plaintiff will fairly and adequately protect the interests of the Class members and

has retained counsel experienced and competent in complex class actions litigation. Plaintiff has

no interests that are contrary to, or in conflict with, the members of the Class that Plaintiff seeks

to represent.

       40.      The prosecution of separate actions by individual Class members would create a

risk of inconsistent or varying adjudications with respect to individual Class members that would

establish incompatible standards of conduct for the party opposing the Class or a risk of

adjudications that, as a practical matter, would be dispositive of the interests of other Class


                                                - 11 -
       Case 1:24-cv-07743-MMG             Document 1        Filed 10/11/24     Page 13 of 22




members who were not parties to the adjudications or would substantially impair or impede the

ability of such Class members to protect their interests.

        41.       Because Defendants have acted or refused to act on grounds that apply generally to

the Class, final injunctive relief or corresponding declaratory relief is appropriate with respect to

the Class as a whole.

        42.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual members of the Class may be relatively small, the expense and

burden of individual litigation make it impossible for the members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

        43.       Questions of law and fact common to the members of the Class predominate over

any questions that may affect only individual members in that Defendants have acted on grounds

generally applicable to the entire Class. Among the questions of law and fact common to the Class

are:

                  (a)    whether Defendants violated the laws as alleged herein;

                  (b)    whether Defendants owed fiduciary duties to members of the Class in

connection with the Sweep Program;

                  (c)    whether Defendants breached their fiduciary duties to members of the Class

in connection with the Sweep Program;

                  (d)    whether Defendants violated the Advisers Act;

                  (e)    whether Defendants violated the RICO Statute;




                                                 - 12 -
      Case 1:24-cv-07743-MMG              Document 1       Filed 10/11/24       Page 14 of 22




                 (f)    whether Defendants made material misrepresentations and/or omissions

regarding the Sweep Program;

                 (g)    whether Defendants were unjustly enriched by their wrongful conduct;

                 (h)    whether the members of the Class sustained damages as a result of the

alleged wrongful conduct by Defendants, and, if so, the appropriate measure of damages; and

                 (i)    whether the members of the Class are entitled to attorneys’ fees and costs

and, if so, the appropriate amount of attorneys’ fees and costs.

                                              COUNT I

                BREACH OF FIDUCIARY DUTY AGAINST ALL DEFENDANTS

          44.    Plaintiff incorporates each of the foregoing paragraphs as though fully set forth

herein.

          45.    Merrill was the agent of, and investment advisor to, customers enrolled in the

Sweep Program, including Plaintiff and the Class. BofA owns and controls Merrill.

          46.    Defendants owed fiduciary duties to Plaintiff and the Class, including a duty to act

in the best interests of, and deal fairly and honestly with, Plaintiff and the Class.

          47.    Defendants violated their duty to act in the best interests of Plaintiff and the Class

by using the Sweep Program to enrich themselves at the expense of customers who were paid

unreasonably low interest rates, as described above.

          48.    Defendants also violated their duty to deal fairly and honestly with Plaintiff and the

Class by making material misrepresentations and omissions in the Sweep Program Documents, as

described above.

          49.    Further, Defendants violated their duty to act with reasonable care to verify the

truthfulness of the information set forth in the Sweep Program, which were materially misleading

and omitted material facts for the reasons described above.
                                                 - 13 -
      Case 1:24-cv-07743-MMG               Document 1        Filed 10/11/24       Page 15 of 22




          50.    As a direct and proximate result of Defendants’ breach of their fiduciary duties,

Plaintiff and the Class have suffered damages and are entitled to recover such damages from

Defendants.

                                              COUNT II

                VIOLATION OF THE INVESTMENT ADVISERS ACT OF 1940
                            AGAINST ALL DEFENDANTS

          51.    Plaintiff incorporates each of the foregoing paragraphs as though fully set forth

herein.

          52.    Merrill is registered as an investment adviser under the Advisers Act. BofA owns

and controls Merrill.

          53.    Merrill violated Section 206 of the Advisers Act by failing to serve the best interests

of its clients, Plaintiff and the Class, and placing its own interests ahead of the interests of Plaintiff

and the Class in connection with the Sweep Program, as further alleged herein. See Securities and

Exchange Commission Interpretation Regarding Standards of Conduct for Investment Advisers,

84 Fed. Reg. 134, 17 CFR §276 (July 12, 2019).

          54.    The Account Agreement should be deemed void pursuant to Section 215 of the

Advisers Act, which provides that every

          (b) . . . contract made in violation of any provision of this title and every contract
          heretofore or hereafter made, the performance of which involves the violation of,
          or the continuance of any relationship or practice in violation of any provision of
          this title, or any rule, regulation, or order thereunder, shall be void (1) as regards
          the rights of any person who, in violation of any such provision, rule, regulation, or
          order, shall have made or engaged in the performance of any such contract, and (2)
          as regards the rights of any person who, not being a party to such contract, shall
          have acquired any right thereunder with actual knowledge of the facts by reason of
          which the making or performance of such contract was in violation of any such
          provision.

          55.    Accordingly, Plaintiff seeks rescission of the Account Agreement and restitution of

the consideration given pursuant to its purported terms.
                                                  - 14 -
      Case 1:24-cv-07743-MMG             Document 1        Filed 10/11/24     Page 16 of 22




                                             COUNT III

     BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING
                      AGAINST ALL DEFENDANTS

          56.    Plaintiff incorporates each of the foregoing paragraphs as though fully set forth

herein.

          57.    Plaintiff entered into the Account Agreement with Merrill concerning the Sweep

Program. BofA owns and controls Merrill.

          58.    Implicit in the Account Agreement was a duty of good faith and fair dealing.

          59.    Defendants breached their duty of good faith and fair dealing by failing to provide

Plaintiff and the Class with fair and reasonable interest rates on their cash sweep balances in the

Sweep Program. Rather, the interest rates provided by Defendants were below market and

unreasonably low. As such, Defendants denied Plaintiff and the Class the full benefit of their

bargain under the Account Agreement.

          60.    As a direct and proximate result of Defendants’ breach of the implied covenant of

good faith and fair dealing, Plaintiff and the Class sustained damages.

                                             COUNT IV

            VIOLATION OF THE RACKETEER INFLUENCED AND CORRUPT
                    ORGANIZATIONS ACT, 18 U.S.C. §1962(c)-(d),
                          AGAINST ALL DEFENDANTS

          61.    Plaintiff incorporates each of the foregoing paragraphs as though fully set forth

herein.

          62.    This claim arises under 18 U.S.C. §1962(c)-(d) of the RICO Statute, which provide

in relevant part:

          (c)     It shall be unlawful for any person employed by or associated with any
          enterprise engaged in, or the activities of which affect, interstate or foreign
          commerce, to conduct or participate, directly or indirectly, in the conduct of such
          enterprise’s affairs through a pattern of racketeering activity . . . .

                                                - 15 -
      Case 1:24-cv-07743-MMG             Document 1      Filed 10/11/24   Page 17 of 22




       (d)    It shall be unlawful for any person to conspire to violate any of the
       provisions of subsection . . . (c) of this section.

       63.     At all relevant times, Defendants were “person[s]” because they were capable of

holding a legal or beneficial interest in property.

       64.     Merrill was an enterprise engaged in interstate commerce.      Through Merrill,

Defendants knowingly and intentionally devised and operated the Sweep Program as a scheme to

defraud investors.     Defendants used the Sweep Program to enrich themselves by paying

unreasonably low interest rates to Sweep Program customers.

       65.     Defendants conducted and participated in multiple, related Racketeering Acts for

the purpose of implementing the Sweep Program. The Racketeering Acts, which occurred, and

continue to occur, regularly and continuously during the operation of the Sweep Program over a

multi-year period, constitute a “pattern of racketeering activity.” The Racketeering Acts were

made possible by the regular, repeated, and continuous use of the employees, facilities, and

services of Merrill.

       66.     Defendants’ Racketeering Acts included the following indictable, predicate

offenses:

               (a)     Mail Fraud: Defendants violated 18 U.S.C. §1341 by sending and

receiving materials via United States mail and commercial interstate carriers for the purpose of

conducting the fraudulent Sweep Program scheme, including the Sweep Program Documents. As

described above, the Sweep Program Documents contained material misrepresentations and

omissions knowingly and intentionally made by Defendants for the purpose of defrauding

customers.

               (b)     Wire Fraud: Defendants violated 18 U.S.C. §1343 by transmitting and

receiving writings and sounds by means of interstate wire communication for the purpose of

                                                - 16 -
      Case 1:24-cv-07743-MMG           Document 1       Filed 10/11/24      Page 18 of 22




conducting the fraudulent Sweep Program scheme. The writings included the Sweep Program

Documents, which were posted on Defendants’ public website. As described above, the Sweep

Program Documents contained material misrepresentations and omissions knowingly and

intentionally made by Defendants for the purpose of defrauding customers.

          67.   Defendants conducted the Racketeering Acts as part of a common conspiracy to

violate 18 U.S.C. §1962(c) of the RICO Statute. Defendants, with knowledge and intent, agreed

to the overall objectives of the conspiracy and, through the Racketeering Acts, participated in a

common course of conduct in furtherance of the Sweep Program scheme, including mailing and

transmitting the Sweep Program Documents to customers.

          68.   Plaintiff and the Class suffered damages by reason of Defendants’ payment of

unreasonably low interest rates on their Sweep Program deposits, in violation of 18 U.S.C.

§1962(c)-(d).

          69.   Plaintiff’s and the Class’s injuries were directly and proximately caused by

Defendants’ racketeering activity.

                                           COUNT V

                  GROSS NEGLIGENCE AGAINST ALL DEFENDANTS

          70.   Plaintiff incorporates each of the foregoing paragraphs as though fully set forth

herein.

          71.   Merrill was the agent of, and investment advisor to, customers enrolled in the

Sweep Program, including Plaintiff and the Class. BofA owns and controls Merrill.

          72.   Defendants owed Plaintiff and the Class a duty to act with reasonable care in

connection with their cash sweep balances deposited and maintained in the Sweep Program.

          73.   Defendants’ conduct with respect to the Sweep Program, as described above, was

grossly negligent. By failing to provide Plaintiff and the Class with fair and reasonable interest
                                              - 17 -
      Case 1:24-cv-07743-MMG            Document 1      Filed 10/11/24      Page 19 of 22




rates on their cash sweep balances in the Sweep Program, Defendants demonstrated a lack of care

and reckless disregard for their customers’ interests and an extreme departure from the ordinary

standard of care.

          74.   Defendants’ gross negligence directly and proximately caused harm to Plaintiff and

the Class.

                                           COUNT VI

                NEGLIGENT MISREPRESENTATIONS AND OMISSIONS
                          AGAINST ALL DEFENDANTS

          75.   Plaintiff incorporates each of the foregoing paragraphs as though fully set forth

herein.

          76.   Merrill was the agent of, and investment advisor to, customers enrolled in the

Sweep Program, including Plaintiff and the Class. BofA owns and controls Merrill.

          77.   Defendants owed Plaintiff and the Class a duty to act with reasonable care in

connection with their cash sweep balances deposited and maintained in the Sweep Program.

          78.   Defendants negligently made material misrepresentations and omissions in the

Sweep Program Documents, as described above.

          79.   Plaintiff and the proposed Class justifiably relied on Defendants’ Sweep Program

Documents and accordingly deposited and maintained cash balances in the Sweep Program to their

detriment.

          80.   Defendants’ material misrepresentations and omissions directly and proximately

caused harm to Plaintiff and the members of the proposed Class.




                                              - 18 -
        Case 1:24-cv-07743-MMG          Document 1        Filed 10/11/24    Page 20 of 22




                                           COUNT VII

                  UNJUST ENRICHMENT AGAINST ALL DEFENDANTS

          81.   Plaintiff incorporates each of the foregoing paragraphs as though fully set forth

herein.

          82.   Defendants financially benefited from the unlawful acts alleged herein by paying

Plaintiff and the Class unreasonably low and below market interest payments on their Sweep

Program balances. These unlawful acts caused Plaintiff and the Class to suffer injury and monetary

loss.

          83.   As a result of the unlawful acts alleged herein, Defendants have been, and continue

to be, unjustly enriched at the expense of Plaintiff and the Class.

          84.   Defendants have received, and are holding, funds belonging to Plaintiff and the

Class, which in equity Defendants should not be permitted to keep but should be required to refund

to Plaintiff and the Class.

                                           COUNT VIII

          VIOLATION OF NEW YORK GENERAL BUSINESS LAW SECTION 349
                         AGAINST ALL DEFENDANTS

          85.   Plaintiff incorporates each of the foregoing paragraphs as though fully set forth

herein.

          86.   Defendants selected New York law as the law governing the Account Agreement.

          87.   Defendants’ acts and practices with respect to the Sweep Program, as described

above, constitute unlawful, unfair, misleading, and deceptive business acts and practices in

violation of Section 349 of New York’s General Business Law (“GBL”).




                                               - 19 -
      Case 1:24-cv-07743-MMG            Document 1        Filed 10/11/24      Page 21 of 22




       88.     Defendants’ misleading and deceptive business acts and practices with respect to

the Sweep Program adversely impacted Plaintiff and the Class, and therefore constitute consumer-

oriented conduct under GBL §349, which resulted in direct harm to Plaintiff and the Class.

       89.     Accordingly, Plaintiff and the Class seek appropriate relief under GBS §349,

including injunctive relief and damages.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on its own behalf and on behalf of the Class, prays for relief and

judgment, as follows:

       A.      Declaring that this action is a proper class action and certifying Plaintiff as Class

representative pursuant to Rule 23 of the Federal Rules of Civil Procedure and Plaintiff’s counsel,

Robbins Geller Rudman & Dowd LLP, as Class Counsel for the proposed Class;

       B.      Awarding compensatory damages in favor of Plaintiff and the Class against all

Defendants, jointly and severally, for all damages sustained as a result of Defendants’ wrongdoing,

in an amount to be proven at trial, including interest thereon;

       C.      Awarding treble damages in favor of Plaintiff and the Class;

       D.      Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

this action, including attorneys’ fees and expert fees;

       E.      Ordering rescission of the Account Agreement and restitution of all fees and other

benefits received by Defendants thereunder; and

       F.      Such other and further relief as the Court deems appropriate.

                                  JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.




                                                - 20 -
    Case 1:24-cv-07743-MMG   Document 1     Filed 10/11/24   Page 22 of 22




DATED: October 11, 2024           ROBBINS GELLER RUDMAN
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                                 - 21 -
